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CONTRACT FOR A PROMISE OF SALE
Trump Ocean Club
(Condominium-Unit)

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Between the undersigned, to wit: ROGER KHAFIF, acting in his condition as
President and empowered attorney of NEWLAND INTERNATIONAL PROPERTIES
CORP. (herein the “Developer”), a corporation incorporated under the laws of the
Republic of Panama, recorded in Card 521258, Document Redy 929232 of the Mercantile
Public Register of Panama, hereinafter called THE PROMISSOR SELLER on one part;
and Greg Landau and or Corporation to be formed

, a American citizen with
Passport Number , acting on behalf’ of
a corporation incorporated under the laws of the Republic of
Panama, registered at Microjacket , Document

of the mercantile section of the public registry of
Panama, hereinafter called the PROMISSOR BUYER, have agreed to enter into this
Agreement or Contract for a Promise of Sale, hereinafter the Promise of Sale, subject to
the following clauses:

QNE: The PROMISSOR SELLER states that as Developer he has been
sufficiently authorized and empowered to enter into this Promise of Sale by the Owner of
Lot No. 234240, recorded in Document Redy 607870, Province of Panama, Property
Section, Public Registry Office of Panama, located in Punta Pacifica, Panama City.

TWO: The PROMISSOR SELLER, who is also the project Developer, states that
on the Lot mentioned in Clause One above he intends to construct a 66 story building with
13 stories and a basement to be destined for parking, and aprox. 869 units for residential
use to be divided between residential condominium units and hotel-condominium units.
The Developer has been further licensed to name the above mentioned building “Trump
Ocean Club International Hotel & Tower” hereinafter The Building, which shall be
subject to the incorporation, by-laws and the rules and regulations of the Condominium
Association, hereinafter the Condominium Regulations.

THREE: The PROMISSOR SELLER states that The Building will be
constructed subject to the guidelines and specifications in the Trump® License and in
accordance with the architectural design prepared by Arias, Serna & Saravia S.A. with
participation of the Architect Edwin Brown. The Parties understand that the
PROMISSOR SELLER can modify the architectural design mentioned above, provided
that any alterations made do not entail altering the overall setting offered according to the
designer’s architects’ criteria.

FOUR: Under this Promise of Sale the PROMISSOR BUYER agrees to buy lien
free, all property and possession rights of the real estate unit of the Condominium, number
3502 of The Building, hereinafter called The Unit.

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(a) The Unit will have an approximate area of _ 192.49 sq. mtrs.
(_ 2,132 sq. ft.) and will include a living room / dining room area, kitchen,

terrace, 3 bedrooms and 25 bathrooms.

(b) The Unit will be finished as follows: marble floors, divisions will be
plastered and painted on both sides, modular kitchens with granite tops, bathrooms with
granite tops and marble lining.

(c) Additionally The Unit will entitle the PROMISSOR BUYER to exclusive
use of one (1) parking space and the common use of additional parking spaces in The
Building.

(d) The sale price of The Unit, as indicated in Clause Six hereof has been
agreed to take in consideration The Unit’s approximate area as indicated in this Clause
Four hereof. The Parties hereby agree that any increase or reduction in area up to a
maximum of five per cent (5%) will result in a proportional and automatic modification of
The Unit’s sale price. Should the area of The Unit increase or decrease, such modification
will be before construction begins, noticed ina writing by the PROMISSOR SELLER to
the PROMISSOR BUYER who hereby agrees to such modification if it is within a five
per cent (5%) limit. The PROMISSOR BUYER further accepts the alteration in the price
which, in the event of an increase, will be paid by the PROMISSOR BUYER together
with the last four payments indicated in sections ii), iii) and iv) of paragraph (a) of Clause
Six hereof.

(e) If the increase or reduction in the area of The Unit is greater than five
percent (5%), the price will be modified in a manner proportional thereto, notwithstanding
which the PROMISSOR BUYER may terminate this Promise of Sale and the Parties
hereby agree that any present or future dispute before any authority concerning their
obligations included in this Promise of Sale is settled herein and consequently, the
PROMISSOR SELLER will return the PROMISSOR BUYER all sums of money
received to date in payment for The Unit price, plus a compensation interest equivalent to
three per cent (3%) per annum. In the event that the PROMISSOR BUYER decides to
terminate this Promise of Sale as a result of the modification referred to in the preceding
sentence, said termination will be notified in writing to the PROMISSOR SELLER no
later than fifteen (15) calendar days after receiving notice of the alteration in area being
greater than five percent (5%). Silence by the PROMISSOR BUYER concerning this
alteration will be understood as an unmistakable sign and agreement of conformity with the
new area and new price.

FIVE: In addition to The Unit price, the PROMISSOR BUYER agrees to
purchase and pay the price of a membership, hereinafter called the Membership, to use the
Building’s Beach Club. The Membership price will be determined according to the
following table, based on the number of bedrooms in The Unit and payment thereof will be
made together with the balance due on The Unit price as stated in CLAUSE SIX.
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Type of Unit Type of Share Price ( in US$)
1 bedroom A 10,000
2 bedroom B 14,000
3 bedroom C 18,000

SIX: The parties hereby declare that the sale price of The Unit is
Six Hundred Forty Two Thousand Six Hundred THOUSAND U.S. DOLLARS AND 00/100 (USS
642,600 .00) and that the sale price of the Membership is Eighteen

THOUSAND U.S. DOLLARS AND 00/100 (US$ _ 18,000 -00). Together, they
add up to SMsedsumosnisannes THOUSAND U.S. DOLLARS AND 00/100 (USS
660,600 -00).

(a) The PROMISSOR BUYER will pay the PROMISSOR SELLER this last
sum as follows:

i) Sixty Four Thousand Two Hundred Sixty U.S.
DOLLARS (US$ _&.260 .00) equal to ten per cent (10%)
of the sale price of The Unit upon the execution of this Promise of Sale,
this amount to be deposited in HSBC to the Escrow Account No. 048-
160097-092, where it will be kept until no later than the Date in Which
Construction Begins defined herein as the day in which pile work of the
Building begins at which time said sum shall be released to the Developer.

ii) Sixty Four Thousand Two Hundred Sixty U.S.
DOLLARS (US$ _ 64.260 00) equal to ten per cent (10%) of the
sale price of The Unit, ten (10) days after notice that the construction of the
Building has begun on the Date in Which Construction Begins.

ili) Sixty Four Thousand Two Hundred Sixty U.S.
DOLLARS (US$ _64.260 .00) equal to ten per cent (10%) of
the sale price of The Unit, divided into two (2) equal installments, each
equal to five per cent (5%) of the sale price of The Unit, the first installment
to be paid one (1) year and the second installment to be paid after two (2)
years from the beginning of the construction of the Building on the Date in
Which Construction Begins and;

iv) The balance due on the sale price of The Unit, together with the sale price of
the Membership, which together adds up to
Four Hundred Sixty Seven Thousand Eight Hundred Twenty USS.
DOLLARS (US$ _ 467.820 -00) to be paid to the
PROMISSOR SELLER’S satisfaction by wire transfer or certified check
from a bank accepted by the PROMISSOR SELLER no later than on the
date of execution of the Public Deed of Sale, in the event that the
PROMISSOR BUYER pays said balance directly without credit or
‘inancing from a banking or financial entity; in the event that the
PROMISSOR BUYER uses a loan to pay the balance stated in this section,

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payment will be made when recording the above mentioned Public Deed of
Sale of The Unit in the Public Registry, through a first class bank in
Panama, accepted by the PROMISSOR SELLER as stated in a Letter of
Irrevocable Payment issued by the bank in favor of the PROMISSOR
SELLER or of the person or legal entity appointed by the PROMISSOR
SELLER. Presenting said Letter of Irrevocable Payment is a precondition to
the execution of the Public Deed of Sale. PROMISSOR BUYER’S
obligations hereunder are not conditional upon his/her ability to obtain credit
or financing.

(b) In the event that the PROMISSOR BUYER fails to pay the price according
to the amounts, procedures and dates agreed in sections i) through iv) of paragraph (a) of
the above, or otherwise fails to perform his/her promises under this Promise of Sale, the
PROMISSOR SELLER may unilaterally and without prior judicial action or
representation of any type or kind, determine that the PROMISSOR BUYER has
unilaterally refrained from buying The Unit and has defaulted under this Agreement, in
which case the PROMISSOR SELLER in its sole discretion will be free to demand full
compliance hereof, or to exercise the right to terminate the Promise of Sale for cause,
which is expressly acknowledged by the Parties. In the latter event, the PROMISSOR
SELLER may freely and immediately dispose of The Unit and the Membership hereof,
under any title and without any type of restriction.

(c) Should the PROMISSOR BUYER fail to fulfill the obligations agreed to
herein and the PROMISSOR SELLER terminates this Promise of Sale, all sums paid by
the PROMISSOR BUYER as part of the price of The Unit, will remain and belong in
favor of the PROMISSOR SELLER as a liquidated and agreed upon damages and not as a
penalty, without any need of any prior judicial action or representation.

SEVEN: The PROMISSOR SELLER will make The Unit available to the
PROMISSOR BUYER when the following conditions are met:

i) That the corresponding authorities issue the Occupation Permit,

li) That the PROMISSOR BUYER has made every payment referred to in
Clause Six above and the Public Deed of Sale is signed and,

ill) That any balance due on the Price of The Unit and the membership is made
in cleared funds or when the Public Deed of Sale is executed, the
PROMISSOR BUYER has provided the PROMISSOR SELLER with a
Letter of Irrevocable Payment issued by a bank accepted by the
PROMISSOR SELLER to pay said balance due on the price of The Unit
and the Membership effective when the Public Deed of Sale is recorded.

(a) The PROMISSOR BUYER agrees to pay the PROMISSOR SELLER
interest equal to a monthly sum of one and one half per cent (1.5%) of the difference
resulting from subtracting the amounts effectively paid from the total Unit price, thirty (30)
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days from the moment the Occupation Permit is issued for the Building, to one of the
following dates:

i) The Closing date in which the Public Deed of Sale of The Unit is signed, in
the event that the balance due is paid without a loan from a financial entity;
or

il) The date in which the Bank pays the Letter of Irrevocable Payment, in the
event that the price is paid with a loan from a financial entity.

(b) From the moment in which the Occupation Permit is issued by the
corresponding authorities, the PROMISSOR BUYER will be solely and exclusively
responsible for paying all utilities such as water, electricity, as well as all maintenance costs
that are necessary to make good use of the property or required for the Unit and any sum
corresponding to monthly expenses or capital expenses established for The Unit under the
Condominium Regulations.

EIGHT: According to Panama Law, the execution of the Public Deed of Sale is
the legal document under which ownership changes hands. Consequently, the
PROMISSOR BUYER must execute said document after the corresponding authorities
have issued the Occupation Permit of the Building. Failure to execute the Public Deed of
Sale by the PROMISSOR BUYER after more than ninety (90) calendar days from the date

in which the Occupation Permit is issued, is considered to be a serious breach of the
obligations agreed to by PROMISSOR BUYER.

NINE: The contracting parties under this Promise of Sale agree that in the event of
default by PROMISSOR BUYER of any obligation agreed to hereunder, PROMISSOR
SELLER may freely decide in it sole discretion whether to demand compliance thereof or
terminate the Promise of Sale without the need for any prior statement or determination by
any authority, in which case PROMISSOR SELLER shall keep as penalty, all sums paid
by the PROMISSOR BUYER as part of the price of The Unit and may in any event
dispose of The Unit for its sale.

TEN: The PROMISSOR BUYER or any legitimate assignee thereof, irrevocably
agrees to the following responsibilities and obligations:

i) To execute the Public Deed of Sale after receiving notice that the
Occupation Permit has been issued.

ii) To comply with and adjust to the obligations and limitations
contained in the Condominium Regulations as approved for the
Building and to pay the monthly administration and maintenance fee
established, from the date in which the Occupation Permit is issued.

ili) To provide the PROMISSOR SELLER with the necessary debt-free
certificate and all other documents required for the Closing and for
cecording the Public Deed of Sale.
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iv) To accept the PROMISSOR SELLER or any individual appointed
thereby as Manager and Representative of The Building and the
Condominium for a period of thirty six (36) months after the
occupancy permit after which the Co-Owners’ Meeting can decide
otherwise through the special quorum established in the
Condominium Regulations.

v) To pay to the PROMISSOR SELLER the monthly sums set forth
herein starting on the date in which the Occupation Permit is issued.

vi) To refrain from assigning or transferring the rights and obligations
resulting hereunder, whether in whole or in part without prior written
consent by the PROMISSOR SELLER to be exercised by
PROMISSOR SELLER in its sole discretion. In the event that
PROMISSOR SELLER authorizes assigning said rights and
obligations, PROMISSOR BUYER will pay PROMISSOR
SELLER an eight per cent (8%) commission on the price of The
Unit which corresponds three per cent (3%) for handling fees and
five per cent (5%) in the event a broker service is required. The
PROMISSOR SELLER anticipates introducing a resale program
upon selling 85% of the entire building.

vii) To refrain from interfering in the construction of The Building or
from requesting alterations or additional structure, ornamentation,
equipment or finishing details.

viii) To pay the contribution established to create the initial fund that will
be used and managed by the Condominium of The Building, which
has been established at TWENTY US DOLLARS ($20.00) per
square meter (M2), multiplied by the total area of The Unit.

ix) To accept that, according to the Condominium Regulations, the
ownership and sale of the rooftop will be decided solely and
exclusively by the PROMISSOR SELLER.

xX) To accept that the PROMISSOR SELLER will have _ parking
spaces and storage rooms in the Building, and that the
PROMISSOR SELLER may decide whether to sell them or not and
that any sale thereof of any type corresponds solely and exclusively
to the PROMISSOR SELLER and its sole discretion.

ELEVEN: In the event that after executing this Promise of Sale and before starting
the construction of the Building any event or circumstance or novelty of any nature should
arise, or certain conditions are not met so that in the exclusive opinion and discretion of the
PROMISSOR SELLER the construction of The Building is unadvisable or
inreasonable, the PROMISSOR SELLER has the right to decline from constructing The
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Building and the PROMISSOR BUYER hereby expressly and unquestionably agrees to
and accepts said right and decision, in which case the Parties hereto agree that this Promise
of Sale will terminate and therefore they agree to settle any present or future dispute before
any competent authority concerning the compliance of the obligations agreed to hereunder
by the return that the PROMISSOR SELLER will make of all amounts paid by
PROMISSOR BUYER as part of the price of The Unit, along with a compensation
interest estimated at three per cent (3%) per year, altogether as termination settlement sum.

TWELVE: The price of The Unit indicated in Clause Six hereof has been agreed
considering current construction costs, as well as the cost of salaries, manual labor,
worker’s compensation, tax related liabilities and the price of construction material in force
at the time this Promise of Sale is executed.

(a) The parties therefore agree that any increase in the above mentioned costs
will entitle the PROMISSOR SELLER to increase the price of The Unit in an amount
equivalent to the said increase in prices, said increase not to exceed six per cent (6%) of the
sale price of The Unit.

(b) In the event of any such increase in price, PROMISSOR SELLER will
immediately notify PROMISSOR BUYER in writing and PROMISSOR BUYER hereby
accepts said increase and agrees to pay the difference in price together with the balance due
on the price of The Unit as stated in section iv) of paragraph (a) of Clause Six hereof.

THIRTEEN: PROMISSOR BUYER hereby states having knowledge of and
accepting the following:

i) That the PROMISSOR SELLER’S liability for damages resulting from
construction defects is limited to one (1) year only, starting on the date in
which the corresponding authorities issue the Occupation Permit.

il) That enclosing balconies or terraces or any alterations to the exterior design
of the Building is not permitted.

FOURTEEN: Without affecting Clause Eleven hereof, PROMISSOR SELLER
hereby states that construction of the Building is currently estimated to begin no later than
November 6, 2006 (hereinafter called the Construction Starting Date) and _ that
consequently The Unit promised for sale will be ready approximately forty (40) months
after the Construction Starting Date. The parties understand that the Construction
Starting Date corresponds to the day in which pile work of the Building begins.

(a) PROMISSOR SELLER has the authority to postpone the Construction
Starting Date, until May 7, 2007, in which case PROMISSOR SELLER will provide
PROMISSOR BUYER written notice indicating said postponement no later than
November 15, 2006 and PROMISSOR BUYER hereby agrees to said postponement.

(b) PROMISSOR SELLER has the authority to postpone the Construction
Starting Date a second time until November 6, 2007 in which case PROMISSOR
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SELLER will provide PROMISSOR BUYER written notice indicating said
postponement no later than May 15, 2007. After receiving notice thereof, PROMISSOR
BUYER must decide whether to agree to such postponement, in which case the parties
irrevocably understand that PROMISSOR BUYER agrees with postponing the
Construction Starting Date a second time or can request immediate return of all sums
deposited to the HSBC Escrow Account mentioned in Clause Six hereof, together with
approximately three per cent (3%) annual interest over said sums.

(c) PROMISSOR BUYER’S failure to request in writing the return of all sums
within 10 calendar days of PROMISSOR SELLER’S notice of such postponement shall
be considered as accepting such postponement.

FIFTEEN: The fact that either one of the parties allows, one or several times, non-
compliance by the other party, or an imperfect compliance, or compliance otherwise than as
agreed upon, or does not insist on the compliance of such obligations, or does not exercise
any corresponding contractual or legal rights in a timely fashion, shall not be deemed as nor
be equivalent to an amendment hereof, nor ban in any case such party from insisting on the
faithful and specific compliance of the obligations to be fulfilled by the other party, or from
exercising its conventional or legal rights.

SIXTEEN: All legal and notary expenses caused by the Public Deed of Sale and of
mortgage as the case may be, such as expenses incurred when recording in the Public
Registry, will be exclusively payable by the PROMISSOR BUYER. All fiscal and stamp
tax related expenses resulting from this Promise of Sale, as well as all notary, legal,
recording, legal fees or any other expenses resulting from the Public Deed of Sale shall be
paid exclusively by the PROMISSOR BUYER.

SEVENTEEN: All communications and notices to be made by the PROMISSOR
SELLER to the PROMISSOR BUYER or vice-versa and related to this Promise of Sale
must be addressed via courier, through certified mail and / or e-mail to the following
addresses and / or telephones as the case may be:

PROMISSOR BUYER
Greg Landau and or Corporation to be formed

16425 Collins Ave #2916
Sunny Isles Beach, FL 33160
305-785-0088

PROMISSOR SELLER

Newland International Properties Corp.
C/O Mr. Roger Khafif,

Office #43, Galeria Balboa,

Galeria Balboa, Avenida Balboa,
Panama City, Rep. of Panama.
ket 11/15/2010

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(507) 223-0209 (Office)
(507) 223-0225 (fax)
E-mail: ‘8eTk@trumpoceanclub.com

EIGHTEEN: This contract is subject to the laws of the Republic of Panama and

any dispute concerning it wil] be subject first and foremost to the courts of Panama City,
Republic of Panama.

IN WITNESS WHEREOF, the parties execute this Agreement, the Promise of Sale, in

USA and Panama City, Republic of Panama, in two
Counterparts having the content and effect, on this date
; Sf » in the year two thousand and Six (2006.)

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THE PROM SSOR SELLER

ROGER KHAFIF
Identity card: N— 17 -630
